






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00389-CR







Christopher Bryan Wallace, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF LAMPASSAS COUNTY, 27TH JUDICIAL DISTRICT


NO. 7088, HONORABLE JOE CARROLL, JUDGE PRESIDING







PER CURIAM

Christopher Bryan Wallace perfected an appeal from his conviction for theft.  The
clerk's fee has not been paid and the clerk's record has not been filed.  See Tex. R. App. P. 35.3(a). 
The Court notified appellant's attorney of record that the appeal would be dismissed if the clerk's
record was not paid for by August 9, 2001.  The Court received no response to this notice.  The
appeal is dismissed for want of prosecution.  See Tex. R. App. P. 37.3(b).


Before Justices Kidd, B. A. Smith and Puryear

Dismissed for Want of Prosecution

Filed:   August 30, 2001

Do Not Publish


